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                         Exhibit 11
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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                     Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                           PLAINTIFFS’ RULE 26(a)(1) DISCLOSURES

            Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiffs Sony Music

     Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label

     Group, LLC, Sony Music Entertainment US Latin, Volcano Entertainment III, LLC, Zomba

     Recordings LLC, Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee

     Music Corp., EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI

     Consortium Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc.,

     individually and d/b/a EMI Longitude Music, EMI Feist Catalog Inc., EMI Miller Catalog Inc.,

     EMI Mills Music, Inc., EMI Unart Catalog Inc., EMI U Catalog Inc., Jobete Music Co. Inc.,

     Stone Agate Music, Screen Gems-EMI Music Inc., Stone Diamond Music Corp., Atlantic

     Recording Corporation, Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By

     Ramen LLC, Nonesuch Records Inc., Roadrunner Records, Inc., Warner Bros. Records Inc.,

     Warner/Chappell Music, Inc., Warner-Tamerlane Publishing Corp., WB Music Corp., W.B.M.

     Music Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc., Intersong

     U.S.A., Inc., UMG Recordings, Inc., Capitol Records, LLC, Universal Music Corp., Universal
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  Music – MGB NA LLC, Universal Music Publishing Inc., Universal Music Publishing AB,

  Universal Music Publishing Limited, Universal Music Publishing MGB Limited, Universal

  Music – Z Tunes LLC, Universal/Island Music Limited, Universal/MCA Music Publishing Pty.

  Limited, Universal – Polygram International Tunes, Inc., Universal – Songs of Polygram

  International, Inc., Universal Polygram International Publishing, Inc., Music Corporation of

  America, Inc. d/b/a Universal Music Corp., Polygram Publishing, Inc., Rondor Music

  International, Inc., and Songs of Universal, Inc., (collectively, “Plaintiffs”), make the following

  disclosures to Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox” or

  “Defendants”).

                                          INTRODUCTION

         1.       These Disclosures are made upon information presently known by Plaintiffs and

  without prejudice to Plaintiffs’ right to produce during discovery or trial, or right to use before or

  during trial, additional data, information or documents that are: (i) subsequently discovered; (ii)

  subsequently determined to be relevant to the parties’ claims and defenses; or (iii) subsequently

  determined to have been omitted from this or any supplemental or amended disclosure statement.

         2.       Plaintiffs also expressly reserve all objections to the use of these Disclosures or

  any of the information or documents found or referenced herein for any purpose in this case or

  any other proceeding. By referring to individuals and documents in the initial disclosure process,

  Plaintiffs make no representations regarding the relevance of any particular information they may

  possess. In addition, by identifying individuals and documents as part of the initial disclosure

  process, Plaintiffs do not waive their right to object to any future discovery requests in this case

  on any basis.




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         3.      Plaintiffs reserve the right to supplement or amend these Disclosures at any time

  pursuant to Federal Rule of Civil Procedure 26, and this Court’s Local Rules and any applicable

  standing orders or practices.

                                         DISCLOSURES

     A. Disclosures Pursuant to Rule 26(a)(1)(A)(i)

  The name and, if known, the address of each individual likely to have discoverable information—
  along with the subjects of that information—that the disclosing party may use to support its
  claims or defenses, unless the use would be solely for impeachment.

  NAME(S)                         ADDRESS                      SUBJECT(S)
  Dennis Kooker, President,       May be reached through       The music recording industry,
  Global Digital Business & US    counsel for Plaintiffs       including the creation, production,
  Sales, Sony Music                                            licensing, distribution, and
  Entertainment                                                exploitation of Plaintiffs’
                                                               copyrighted works; the harm
                                                               caused by infringement; the need
                                                               and efforts to deter illegal
                                                               downloading of music.


  Jeff Walker, Executive Vice     May be reached through       The creation, production,
  President and Head, Business    counsel for Plaintiffs       licensing, distribution, and
  & Legal Affairs, Global                                      exploitation Plaintiffs’ copyrighted
  Digital Business, Sony Music                                 works and the harm caused by
  Entertainment                                                infringement.

  Wade Leak, Senior Vice          May be reached through       Ownership and registration of
  President, Deputy General       counsel for Plaintiffs       Plaintiffs’ copyrighted works; the
  Counsel and Chief                                            need and efforts to deter illegal
  Compliance, Ethics and                                       downloading of music.
  Privacy Officer, Sony Music
  Entertainment

  Neil Carfora, Executive Vice    May be reached through       The financial harm caused by
  President, Finance and          counsel for Plaintiffs       infringement of Plaintiffs’
  Operations, Sony Music                                       copyrighted works.
  Entertainment




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  NAME(S)                          ADDRESS                  SUBJECT(S)
  Jon Glass, Senior Vice           May be reached through   The creation, production,
  President, Digital Legal         counsel for Plaintiffs   distribution, and exploitation of
  Affairs, Warner Music Group                               Plaintiffs’ copyrighted works; the
                                                            harm caused by infringement; the
                                                            need and efforts to deter illegal
                                                            downloading of music.

  Steven Poltorak, Vice            May be reached through   Ownership and registration of
  President, Recorded Music        counsel for Plaintiffs   Plaintiffs’ copyrighted works.
  Rights Administration,
  Warner Music Group

  Matt Flott, Chief Financial      May be reached through   The financial harm caused by
  Officer, Global Finance          counsel for Plaintiffs   infringement of Plaintiffs’
  Analysis & Operations,                                    copyrighted works.
  Warner Music Group

  Alasdair McMullan, Senior      May be reached through     Ownership and registration of
  Vice President, Head of        counsel for Plaintiffs     Plaintiffs’ copyrighted works; the
  Litigation, Business and Legal                            harm caused by infringement; the
  Affairs, Universal Music                                  need and efforts to deter illegal
  Group                                                     downloading of music.

  Jason Gallien, Chief Financial   May be reached through   The financial harm caused by
  Officer – North America,         counsel for Plaintiffs   infringement of Plaintiffs’
  Universal Music Group                                     copyrighted works.

  Michael Abitbol, Senior Vice     May be reached through   The creation, licensing,
  President, Business & Legal      counsel for Plaintiffs   distribution, and exploitation of
  Affairs, Digital, Sony/ATV                                Plaintiffs’ copyrighted works; the
  Music Publishing                                          harm caused by infringement; the
                                                            need and efforts to deter illegal
                                                            downloading of music.
  Audrey Ashby, Vice               May be reached through   Ownership and registration of
  President, Business Affairs at   counsel for Plaintiffs   Plaintiffs’ copyrighted works.
  Sony/ATV Music Publishing

  Paul Kahn, Executive Vice        May be reached through   The music publishing industry,
  President, Chief Financial       counsel for Plaintiffs   including the creation, licensing,
  Officer, Warner/Chappell                                  distribution, and exploitation of
  Music                                                     Plaintiffs’ copyrighted works; the
                                                            harm caused by infringement; the
                                                            need and efforts to deter illegal
                                                            downloading of music.

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  NAME(S)                          ADDRESS                       SUBJECT(S)
  Jeremy Blietz, Vice President,   May be reached through        Ownership and registration of
  Administration,                  counsel for Plaintiffs        Plaintiffs’ copyrighted works.
  Warner/Chappell Music

  David Kokakis, Chief             May be reached through        The music publishing industry,
  Counsel, UMPG                    counsel for Plaintiffs        including the creation, licensing,
                                                                 distribution, and exploitation of
                                                                 Plaintiffs’ copyrighted works; the
                                                                 harm caused by infringement; the
                                                                 need and efforts to deter illegal
                                                                 downloading of music.

  Andy Swan, Vice President,       May be reached through        Ownership and registration of
  Business & Legal Affairs,        counsel for Plaintiffs        Plaintiffs’ copyrighted works.
  Contract Administration,
  UMPG


  MarkMonitor                      May be reached through        MarkMonitor’s observation of
                                   counsel for Plaintiffs        infringements by Cox subscribers;
                                                                 infringement of Plaintiffs’
                                                                 copyrighted works by Cox
                                                                 subscribers; notices of copyright
                                                                 infringement sent to Cox.

  Recording Industry               May be reached through        Management of the MarkMonitor
  Association of America           counsel for Plaintiffs        notice program.




         The chart at Appendix 1 identifies which Plaintiffs correlate to which Record Company

  Plaintiff group or Music Publisher Plaintiff group. The witness disclosures above apply to all

  individual Plaintiffs within each respective group. For example, the witnesses disclosed above

  for Sony Music Entertainment apply to the eight (8) individual record company plaintiffs

  associated with Sony Music Entertainment in Appendix 1.

         Plaintiffs reserve the right to rely on any persons or entities identified in Defendants’

  Initial Disclosures (and any supplements thereto); any persons or entities identified in any party’s


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  discovery responses; and any person or entity deposed in this action. Plaintiffs reserve the right

  to supplement this identification of persons or entities based on information obtained during

  discovery and/or through their ongoing investigation into the matters relevant to this action.


     B. Disclosures Pursuant to Rule 26(a)(1)(A)(ii)

  A copy—or a description by category and location—of all documents, electronically stored
  information, and tangible things that the disclosing party has in its possession, custody, or
  control and may use to support its claims or defenses, unless the use would be solely for
  impeachment

         The following categories of documents may be used by Plaintiffs to support their claims

  or defenses:


             •   Copyright registrations of Plaintiffs’ works and/or other documents showing
                 ownership or control of those works

             •   Documents concerning the infringement of Plaintiffs’ copyrighted works

             •   Documents concerning Cox’s knowledge of infringement of Plaintiffs’
                 copyrighted works

             •   Documents to be produced by Cox concerning Cox’s copyright abuse policies and
                 procedures and Defendants’ financials

         Plaintiffs reserve the right to supplement this list of categories of documents based on

  information obtained during discovery and/or through their ongoing investigation into the

  matters relevant to this action.


     C. Disclosures Pursuant to Rule 26(a)(1)(A)(iii)

  A computation of each category of damages claimed by the disclosing party—who must also
  make available for inspection and copying as under Rule 34 the documents or other evidentiary
  material, unless privileged or protected from disclosure, on which each computation is based,
  including materials bearing on the nature and extent of injuries suffered

         Plaintiffs are entitled to obtain damages to the fullest extent of the statutory law

  applicable to any violation of their rights. A more detailed computation of the amount of such

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  damages is premature at this point because a significant amount of information bearing on the

  subject of damages—specifically including, but not limited to, the extent of Defendants’

  infringement and financial benefits received in connection therewith, including Defendants’

  financial documents—is in the possession, custody or control of Defendants. The Advisory

  Committee that drafted the initial disclosure provisions of Federal Rule of Civil Procedure

  26(a)(1)(C) acknowledged that initial disclosures regarding damages may not be feasible in

  certain cases such as this.     See Fed. R. Civ. P. 26 Advisory Committee’s Notes, 1993

  Amendments (“Likewise, a party would not be expected to provide a calculation of damages

  which . . . depends on information in the possession of another party or person.”). Plaintiffs

  reserve the right to supplement these damages disclosures based on information obtained during

  discovery and/or through their ongoing investigation into the matters relevant to this action.

     D. Disclosures Pursuant to Rule 26(a)(1)(A)(iv)

  For inspection and copying as under Rule 34, any insurance agreement under which an
  insurance business may be liable to satisfy all or part of a possible judgment in the action or to
  indemnify or reimburse for payments made to satisfy the judgment.

         Plaintiffs are unaware of any such agreement(s) at this time.




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   Dated: December 12, 2018             Respectfully submitted,

                                        /s/ Jeffrey M. Gould
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                                        Jeffrey M. Gould (pro hac vice)
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                                   APPENDIX 1


   Record Company Plaintiffs             Individual Plaintiffs
   Sony Music Entertainment              1. Arista Music
                                         2. Arista Records LLC
                                         3. LaFace Records LLC
                                         4. Provident Label Group, LLC
                                         5. Sony Music Entertainment
                                         6. Sony Music Entertainment US Latin
                                         7. Volcano Entertainment III, LLC
                                         8. Zomba Recordings LLC
   Universal Music Group                 1. UMG Recordings, Inc.
                                         2. Capitol Records, LLC
   Warner Music Group                    1. Atlantic Recording Corporation
                                         2. Bad Boy Records LLC
                                         3. Elektra Entertainment Group Inc.
                                         4. Fueled by Ramen LLC
                                         5. Nonesuch Records Inc.
                                         6. Roadrunner Records, Inc.
                                         7. Warner Bros. Records Inc.


   Music Publisher Plaintiffs            Individual Plaintiffs
   Sony/ATV and EMI                      1. Sony/ATV Music Publishing LLC
                                         2. EMI Al Gallico Music Corp.
                                         3. EMI Algee Music Corp.
                                         4. EMI April Music Inc.
                                         5. EMI Blackwood Inc.
                                         6. Colgems-EMI Music, Inc.
                                         7. EMI Consortium Music Publishing Inc.
                                             d/b/a EMI Full Keel Music
                                         8. EMI Consortium Songs, Inc., individually
                                             and d/b/a EMI Longitude Music
                                         9. EMI Feist Catalog Inc.
                                         10. EMI Miller Catalog Inc.
                                         11. EMI Mills Music, Inc.
                                         12. EMI Unart Catalog Inc.
                                         13. EMI U Catalog Inc.
                                         14. Jobete Music Co. Inc.
                                         15. Stone Agate Music (a division of Jobete
                                             Music Co., Inc.)
                                         16. Screen Gems-EMI Music Inc.
                                         17. Stone Diamond Music Corp.



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   Music Publisher Plaintiffs (cont’)    Individual Plaintiffs
   Universal Music Publishing Group      1. Universal Music Corp.
                                         2. Universal Music – MGB NA LLC
                                         3. Universal Music Publishing Inc.
                                         4. Universal Music Publishing AB
                                         5. Universal Music Publishing limited
                                         6. Universal Music Publishing MGB
                                             Limited
                                         7. Universal Music – Z Tunes LLC
                                         8. Universal/Island Music Limited
                                         9. Universal/MCA Music Publishing Pty.
                                             Limited
                                         10. Universal – Polygram International Tunes,
                                             Inc.
                                         11. Universal – Songs of Polygram
                                             International, Inc.
                                         12. Universal Polygram International
                                             Publishing, Inc.
                                         13. Music Corporation of America, Inc. d/b/a
                                             Universal Music Corp.
                                         14. Polygram Publishing, Inc.
                                         15. Rondor Music International, Inc.
                                         16. Songs of Universal, Inc.
   Warner/Chappell Music                 1. Warner/Chappell Music, Inc.
                                         2. Warner-Tamerlane Publishing Corp.
                                         3. WB Music Corp.
                                         4. W.B.M. Music Corp.
                                         5. Unichappell Music Inc.
                                         6. Rightsong Music Inc.
                                         7. Cotillion Music, Inc.
                                         8. Intersong U.S.A., Inc.




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                                  CERTIFICATE OF SERVICE

          I certify that on December 12, 2018, a copy of the foregoing was served via Electronic

   Mail upon counsel of record.



                                                        /s/ Jeffrey M. Gould
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                                                        Attorney for Plaintiffs




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